98 F.3d 1347
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.JUVENILE MALE, Defendant-Appellant.
    No. 96-10217.
    United States Court of Appeals, Ninth Circuit.
    Submitted Oct. 7, 1996.*Decided Oct. 11, 1996.
    
      Before:  BEEZER, KOZINSKI and KLEINFELD, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      J.L.M., a juvenile male, appeals the district court's denial of his motion to dismiss an information charging him with an act of juvenile delinquency by possessing a handgun, in violation of 18 U.S.C. §§ 922(x)(2) and 924(a)(5)(A)(i).  We affirm.
    
    
      3
      J.L.M. contends that 18 U.S.C. § 922(x)(2) is unconstitutional because it exceeds Congressional authority under the Commerce Clause.  This contention is foreclosed by  United States v. Michael R., 90 F.3d 340, 345 (9th Cir.1996), in which this court held that "enactment of section 922(x)(2) is a valid, constitutional exercise of Congressional commerce powers."   To the extent that J.L.M. maintains that Michael R. was wrongly decided, we cannot reconsider or overrule the decision of a prior panel.   See United States v. Gay, 967 F.2d 322, 327 (9th Cir.), cert. denied, 506 U.S. 929 (1992).
    
    
      4
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    